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  Robert A. Rosette (SBN 224437)
2
  Simon W. Gertler (SBN 326613)
3 ROSETTE, LLP
  1415 L Street, Suite 450
4
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5 Telephone: (916) 353-1084
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6
  borderwalllitigation@rosettelaw.com
7
 8                          UNITED STATES DISTRICT COURT
 9                        SOUTHERN DISTRICT OF CALIFORNIA
10
11     LA POSTA BAND OF DIEGUENO                  Case No.: 20CV1552 AJB MSB
       MISSION INDIANS OF THE LA
12
       POSTA RESERVATION ON BEHALF
13     OF ITSELF AND ON BEHALF OF ITS
       MEMBERS AS PARENS PATRIAE,
14
       Plaintiffs,
15                                                DECLARATION OF MICHELLE
       V.                                         LAPENA IN SUPPORT OF
16
                                                  EMERGENCY EX PARTE
       DONALD J. TRUMP, PRESIDENT OF
17                                                APPLICATION FOR TEMPORARY
       THE UNITED STATES, IN HIS
                                                  RESTRAINING ORDER
18     OFFICIAL CAPACITY; MARKT.
       ESPER, U.S. SECRETARY OF
19
       DEFENSE, IN HIS OFFICIAL
20     CAPACITY; CHAD F. WOLF, ACTING
       U.S. SECRETARY OF HOMELAND
21
       SECURITY, IN HIS OFFICIAL
22     CAPACITY; AND LIEUTENANT
       GENERAL TODD T. SEMONITE,
23
       COMMANDING GENERAL OF THE
24     U.S. ARMY CORPS OF ENGINEERS,
       IN HIS OFFICIAL CAPACITY,
25
26     Defendants.
27
28                                            1
            DECLARATION OF MICHELLE LAPENA IN SUPPORT OF EMERGENCY EX
               PARTE APPLICATION FOR TEMPORARY RESTRAINING ORDER
     Case 3:20-cv-01552-AJB-MSB Document 11-1 Filed 08/14/20 PageID.255 Page 2 of 9



 1 I, Michelle LaPena, declare as follows:
 2       1. The information contained in this declaration is based upon my personal
 3          knowledge, and I am competent to testify to the contents herein in any
 4          proceeding.
 5       2. I am counsel of record for the La Posta Band of Mission Indians. I have been
 6          admitted to practice before this Court.
 7       3. On the afternoon of August 12, 2020, I contacted the U.S. Attorney's Office,
 8          Southern District of California, and spoke with Katie Parker, the District's
 9          General Counsel. She stated that the matter had not yet been assigned but might
10          be assigned to the Washington D.C. Branch. She stated that she would work on
11          that assignment and provide me with the contact information for the attorney
12          assigned to the case as soon as possible.
13       4. Later that evening, she returned my call and told me that Mr. Andrew Warden
14          was assigned to the case and she offered to send me his contact information,
15          which I thankfully accepted.
16       5. I immediately sent an email to Mr. Warden informing him of our intent to file
17          a motion for temporary restraining orders and to meet and confer with him. Mr.
18          Warden responded to my email stating that he was available to speak the next
19          morning. The email is attached hereto as Exh. 1
20       6. On the morning August 13, 2020, I received a phone call from Mr. Warden,
21          and we discussed the possibility of settlement of the case and the possibility of
22          the Government parties agreeing to stop construction of the border wall in order
23          to allow for time for formal government-to-government consultation regarding
24          tribal cultural site protection and the treatment of possible human remains. He
25          stated that he would confer with his clients and get back to me as soon as
26          possible.
27       7. Just before 1 :00 Pacific time, I received an email from Mr. Warden stating that
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                                                      2
         DECLARATION OF MICHELLE LAPENA IN SUPPORT OF EMERGENCY EX
            PARTE APPLICATION FOR TEMPORARY RESTRAINING ORDER
     Case 3:20-cv-01552-AJB-MSB Document 11-1 Filed 08/14/20 PageID.256 Page 3 of 9



 1          his clients did not agree to temporarily stop construction and outlined a course
 2          for consolidated briefing rather than bifurcate TRO and PI briefing into separate
 3          stages. He further asked to file their opposition on August 27, 2020. The email
 4          is attached hereto as Exh. 2.
 5       8. Based upon my knowledge and belief, the construction that the Plaintiff seeks
 6          to enjoin to prevent significant impacts to tribal cultural resources could be
 7          substantially complete by August 27, 2020, the date that Defendant agreed to
 8          file its opposing brief.
 9
10
11 I declare under penalty of perjury that the foregoir:ig is true and correct. Executed on
12 August 13, 2020.
13
14    '1Yl( cAdit �
15    Michelle LaPena
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28                                                 3
         DECLARATION OF MICHELLE LAPENA IN SUPPORT OF EMERGENCY EX
            PARTE APPLICATION FOR TEMPORARY RESTRAINING ORDER
Case 3:20-cv-01552-AJB-MSB Document 11-1 Filed 08/14/20 PageID.257 Page 4 of 9



 Case No. 20CV1552 AJB MSB
 EXHIBIT LIST TO MICHELLE LAPENA’S DECLARATION ISO EMERGENCY EX
 PARTE APPLICATION FOR TEMPORARY RESTRAINING ORDER




 Exhibit No.        Description                                          Page No.
  1            True and correct email correspondence between Michelle    6
               LaPena and Andrew Warden, U.S. Dept. of Justice re: TRO
  2            True and correct email correspondence between Michelle    9
               LaPena and Andrew Warden, U.S. Dept. of Justice re:
               stopping construction at the border




                                            4
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                            EXHIBIT 1
                                         5
Case 3:20-cv-01552-AJB-MSB Document 11-1 Filed 08/14/20 PageID.259 Page 6 of 9
  From: Warden, Andrew (CIV) [maj(to·Andrew Wardeo@mdai i◊Y)
  Sent: Wednesday, August 12, 2020 7:40 PM
  To: Michelle LaPena <mlapena@rose law.com>
  Cc: Conly Schulte <cschulte@roset,elaw com>; Simon Gertler <sgertler@rosettelaw.com>
  Subject: RE: La Posta v. Trump e t al., S.D. Cal.
  Michelle:

  Thanks for touching base. Yes, 1 0am Eastern works for me. Please let me know the best number to
  reach you.

  Thanks,
  Andrew
  Andrew I. Warden
  U.S. Department of Justice
  Civil Divisi on, Federal Programs Branch
  Tel: (202) 616-5084
  From: Michelle La Pena <mlapena@roseLtelaw.com>
  Sent: Wednesday, August 12, 2020 10:15 PM
  To: Warden, Andrew (CIV) <AWarden@CIV USDOJ.GOV>
  Cc: Conly Schulte <csch1Jlle@rose1telaw com>; Simon Gertler <sgerUer@rosette!aw com>
  Subject: FW: La Pasta v. Trump et al., S.D. Cal.
  Mr. Warden,
  As you know, this firm represents the LaPosta Band of Mission Indians in the above referenced
  matter. We plan to file a motion for temporary restraining order tomorrow and would like to meet
  and confer with you prior to filing. Are you available for a call at 10 am eastern time tomorrow
  morning? If that time does not work for you, please let me know a better time and I will give you a
  call. Thank you.
  Respectfullly,
  Michelle LaPena
  Rosette, LLP- Attorneys at Law
  1415 L Street, Suite 450
  Sacramento, CA 95814
  P 916 353-1084
  F 916 353-1085
  C 916 204-5724
  m!apena@rosettelaw com
  www rosette!aw com
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                                                                                          -   as a client, co-counsel or
  retained expert, you should maintain its contents in confidence in order to preserve the attomey-client or work
  product privilege that moy be available to protect confidentiality.

  From: Parker, Katherine (USACAS) [mailto:Kalherine.Parker@1,sdoj.gov]
  Sent: Wednesday, August 12, 2020 5:53 PM
  To: Michelle LaPena <mlapena@rosettelaw.com>
  Cc: Warden, Andrew (CIV) <Andrew,Warden@usdoj.gov>
  Subject: La Posta v. Trump et al., S.D. Cal.
  Michelle,
  Your contact for the case just filed in San Diego will be Andrew Warden with DOJ. Here is all
  of his contact information, and I've copied him:


                                                              Exh. 1
                                                                  6
Case 3:20-cv-01552-AJB-MSB Document 11-1 Filed 08/14/20 PageID.260 Page 7 of 9


   Andrew I. Warden
   U.S. Department of Justice
   Civil Division, Federal Programs Branch
   Tel: (202) 616-5084
   Email: Andrew.Warden@usdoj.gov
   Thanks,
   Katie Parker
   Chief, Civil Division
   U.S. Attorney's Office
   880 Front Street, Room 6293
   San Diego, CA 92101
   619-546-7634
   Katherine.parker@usdqj gov




                                             Exh. 1
                                               7
Case 3:20-cv-01552-AJB-MSB Document 11-1 Filed 08/14/20 PageID.261 Page 8 of 9




                            EXHIBIT 2
                                           8
Case 3:20-cv-01552-AJB-MSB Document 11-1 Filed 08/14/20 PageID.262 Page 9 of 9



  From:               Warden. Andrew (CIV)
  To:                 Michelle LaPena
  Cc:                 Conly Schulte; Simon Gei-tler
  Subject:            RE: La Pasta v. Trump et al., S.D. cal.
  Date:               Thursday, August 13, 2020 12:49:16 PM


  Michelle:
  Thanks for taking the time to speak with me today. I was able to have an initial consultation with folks at
  OHS and DoD about your request for relief. The agencies are not in a position to stop ongoing
  construction, but officials from DoD and OHS are willing to continue to confer with representatives of the
  LaPosta Band in an effort to try to reach an agreement on mitigation measures that would accommodate
  their concerns.
  Recognizing that you are likely to proceed with filing your motion, I think the most efficient way forward for
  the parties and the court would be to have a single round of briefing rather than bifurcate TRO and Pl
  briefing into separate stages. If you file your motion today, we would request filing an opposition on
  August 27, and then you may file a reply at a time convenient for you. Please let me know if this schedule
  is acceptable.
  Best,
  Andrew
  Andrew I. Warden
  U.S. Department of Justice
  Civil Division, Federal Programs Branch
  Tel: (202) 616-5084
  From: Michelle LaPena <mlapena@rosettelaw.com>
  Sent: Thursday, August 13, 2020 11:50 AM
  To: Warden, Andrew {CIV) <t',Warden@CIV.USDOJ.GOV>
  Cc: Conly Schulte <cschulte@rosettelaw.com>; Simon Gertler <sgertler@rosettelaw.com>
  Subject: RE: La Posta v. Trump et al., S.D. Cal.
  Andrew,
  Please see the draft Proposed Orders that we referenced on our call this morning. We look forward
  to hearing back from you today.
  Respectfullly,
  Michelle LaPena
  Rosette, LLP- Attorneys at Law
  1415 L Street, Suite 450
  Sacramento, CA 95814
  P 916 353-1084
  F 916 353-1085
  C 916 204-5724
  mlapena@rosettelaw.com
  www .rosettelaw.com
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  retained expert, you should maintain its contents in confidence in order to preserve the attorney-client or work
  product privilege that may be available to protect confidentiality.




                                                                           Exh. 2
                                                                             9
